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7, 2010 

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In The

Court of
Appeals

For The

First District
of Texas

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NO. 01-10-00765-CV

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KAREN KRISTINE SILVIO, Appellant

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V.

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MICHAEL V. NEWMAN, Appellee

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On Appeal from the County Civil Court at Law No.1

Harris County,
Texas

Trial Court Cause No. &nbsp;945,526

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MEMORANDUM
OPINION

Appellant has filed a motion to
dismiss the appeal.&nbsp; More than 10 days
have elapsed, and no objection has been filed.&nbsp;
No opinion has issued.&nbsp;
Accordingly, the motion is granted, and the appeal is dismissed.&nbsp; Tex.
R. App. P. 42.1(a)(1).








All other pending motions in this
appeal are overruled as moot.&nbsp; The Clerk
is directed to issue mandate within 10 days of the date of this opinion.&nbsp; Tex.
R. App. P. 18.1.

PER
CURIAM

Panel consists of Chief Justice Radack and Justices Higley
and Massengale. 





